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                            IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                            Civil Action No.
         v.                                                 8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                               ORDER

        UPON CONSIDERATION of the Defendants’ Motion to Seal, ECF 264, it is this 5th day of May

2025, ORDERED that:


         1. Defendant’s Motion to Seal, ECF 264, is DENIED IN PART and GRANTED IN PART.

         2. The Court DENIES Defendant’s request to seal in their entirety Defendants’ Memorandum
            in Support of their Motion to Vacate, ECF 261-1, and Exhibit A, USCIS Indicative Asylum
            Decision, ECF 261-2.

         3. The Court will make public redacted versions of the Defendants’ Memorandum in Support
            of its Motion to Vacate and Exhibit A, USCIS Indicative Decision, in which the Court has
            redacted “Confidential Information” as defined under the Protective Order entered in this
            case, ECF 136-1, ECF 144, and information potentially subject to 8 C.F.R. § 1208.6, while
            otherwise preserving public access to court filings.

         4. After hearing from the parties at the status conference scheduled for May 6, 2025, the Court
            will consider whether to amend this order to make public additional information from the
            Defendants’ Memorandum in Support of its Motion to Vacate and Exhibit A, USCIS
            Indicative Decision.

         5. The Clerk is directed to maintain ECF 262 and 263 under seal and to file the redacted
            versions of the Defendants’ Memorandum in Support of their Motion to Vacate and Exhibit
            A, USCIS Indicative Decision.

Dated: May 5, 2025                                           /s/
                                                    Stephanie A. Gallagher
                                                    United States District Judge
